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10

11
                                   UNITED STATES DISTRICT COURT
12
                                  NORTHERN DISTRICT OF CALIFORNIA
13
                                              SAN FRANCISCO
14
     PANGEA LEGAL SERVICES, et al.,                       Case No. 3:20-cv-07721
15
                    Plaintiffs,                           CERTIFICATE REGARDING NOTICE
16                                                        TO DEFENDANTS OF EX PARTE
            v.                                            MOTION
17
     U.S. DEPARTMENT OF HOMELAND                          Assigned to:
18   SECURITY et al.,
                                                          Date:
19                  Defendants.                           Time:
                                                          Courtroom:
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      CERTIFICATE RE: NOTICE TO DEFENDANTS OF EX PARTE MOTION – CASE NO. 3:20-cv-7721
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 1      CERTIFICATE REGARDING NOTICE TO DEFENDANTS OF EX PARTE MOTION

 2          Plaintiffs filed this action on November 2, 2020, and commenced service by registered mail on

 3   November 3, 2020. Defendants have not yet appeared in this action or designated a counsel of record.

 4   Accordingly, Plaintiffs have taken, and will take, the following steps to notify Defendants of Plaintiffs’

 5   Ex Parte Motion for a Temporary Restraining Order and Order to Show Cause Why a Preliminary

 6   Injunction Should Not Issue (Ex Parte Motion):

 7          On October 30, 2020—three days before filing this action and four days before filing the Ex

 8   Parte Motion—Sidley Austin LLP attorney Brian Stretch, together with Plaintiffs’ counsel Naomi

 9   Igra, Jack Pirozzolo, and Tobias Loss-Eaton, sent an email to Sara Winslow, Chief of the Civil Divi-

10   sion at the United States Attorney’s Office in San Francisco, California, and informed her the Plaintiffs

11   intended to file a Complaint in this district challenging the DHS rule titled Procedures for Asylum and

12   Bars to Asylum Eligibility, 85 Fed. Reg. 67202 (Oct. 21, 2020) (“Final Rule”). The email stated that

13   Plaintiffs’ counsel anticipated filing a request for a TRO and preliminary injunction on November 2,

14   2020. The email also asked for contact information of whomever would handle the case so that the

15   parties might negotiate a briefing and hearing schedule.

16          Also on October 30, 2020, Ms. Winslow responded that the case would be handled by Main

17   Justice. Ms. Winslow asked that Plaintiffs’ counsel send her the filings until she could determine who

18   would handle the case.

19          On November 2, 2020, Plaintiffs’ counsel exchanged emails with Ms. Winslow, who stated

20   that she did not yet know who would be handling the case. Plaintiffs’ Counsel filed the Complaint on

21   the same day and sent the Complaint by email to Ms. Winslow. Plaintiffs’ counsel asked if the gov-

22   ernment would accept service. Ms. Winslow responded that she was not sure if she would be able to

23   get a response because it was after hours on the east coast.

24          On November 3, 2020, Plaintiffs’ counsel sent an email to Ms. Winslow asking again if gov-

25   ernment counsel had been assigned to the case and informing her that, if not, they would shortly file

26   the Ex Parte Motion seeking an expedited briefing schedule. Ms. Winslow responded that she still

27   had not heard which lawyers would be assigned to the case. Plaintiffs’ counsel later received a further

28   email from Ms. Winslow, identifying the lawyer assigned to the case and reporting his preference for

                                                         1
      CERTIFICATE RE: NOTICE TO DEFENDANTS OF EX PARTE MOTION – CASE NO. 3:20-cv-7721
         Case 3:20-cv-07721-SI         Document 21-4        Filed 11/03/20      Page 3 of 3



 1   a schedule in which the government’s brief would be due during the week of November 15. Because

 2   the Final Rule is scheduled to take effect during that week, government counsel’s preferred schedule

 3   would not allow time for briefing, a hearing, and a ruling before the Final Rule’s effective date.

 4          Plaintiffs’ counsel then conferred directly with the government’s assigned lawyer, who pro-

 5   posed that Defendants file their opposition brief on November 10, 2020, and that plaintiffs file any

 6   reply by November 13, 2020.

 7          Plaintiffs will file a proof of service once such service is complete.

 8   November 3, 2020                                 Respectfully submitted,
 9                                                    /s/ Naomi Igra
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